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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

  SPRINT COMMUNICATIONS COMPANY LP.,
       Plaintiff,                             C.A. No. 17-1734-RGA
                   v.
  CHARTER COMMUNICATIONS, INC., et al.,       PUBLIC VERSION
       Defendants.

  SPRINT COMMUNICATIONS COMPANY LP.,          C.A. No. 17-1736-RGA
       Plaintiff,
                   v.                         PUBLIC VERSION
  MEDIACOM COMMUNICATIONS CORP.,
       Defendants.
                                              C.A. No. 18-361-RGA
  SPRINT COMMUNICATIONS COMPANY LP.,
                                              PUBLIC VERSION
       Plaintiff,
                   v.
  WIDEOPENWEST, INC. et al.,
                                              C.A. No. 18-362-RGA
       Defendants.
                                              PUBLIC VERSION
  SPRINT COMMUNICATIONS COMPANY LP.,
       Plaintiff,
                   v.                         C.A. No. 18-363-RGA
  ATLANTIC BROADBAND FINANCE, LLC et al.,
                                              PUBLIC VERSION
       Defendants.

  SPRINT COMMUNICATIONS COMPANY LP.,
         Plaintiff,
                     v.
  GRANDE COMMUNICATIONS NETWORKS,
  LLC et al.,
         Defendants.



  DEFENDANTS’ OPENING BRIEF IN SUPPORT OF ITS MOTION FOR SUMMARY
 JUDGMENT AND MOTION TO EXCLUDE EXPERT TESTIMONY UNDER DAUBERT
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                                            LP, and WaveDivision Holdings, LLC

  Dated: June 12, 2020




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 I.     INTRODUCTION

        Sprint seeks over                                       for alleged infringement of decades-

 old, and now obsolete, technology. Sprint can only make these expansive claims by making

 technical and economic assertions that stretch beyond the bounds of the law. Sprint’s attempt to

 expand its old ATM-based patents to cover new technology never disclosed in its patents negates

 the Court’s Markman order and violates the written description law. Sprint’s damages expert

 makes unsupported assumptions in an attempt to generate the highest possible damages award,

 and Sprint’s technical expert offers economic and legal opinions to buttress those unsupported

 analyses. For example, without investigating alternatives that Sprint’s other experts admit were

 available, Sprint’s technical expert opines that there were no non-infringing alternatives to Sprint’s

 patents. These opinions fail Daubert and, in the case of lost profits, entitle Defendants to summary

 judgment. Finally, no material dispute exists that Sprint and its licensees failed to mark the

 products it alleges embody the Asserted Patents, and thus Sprint is barred from seeking pre-suit

 damages for nearly all the Asserted Patents. This Court should grant Defendants’ motions and

 preclude Sprint from asking the jury to award it damages to which it is not entitled under the law.

 II.    CASE BACKGROUND

        Sprint currently asserts Defendants’ Voice-over-IP (“VoIP”) systems infringe eleven1

 patents (collectively “the Asserted Patents”), which can be grouped into the following categories:

        “Call Control Patents”: 6,452,932 (“’932 Patent”); 6,463,052 (“’052 Patent”); 6,633,561

 (“’3,561 Patent”); 7,286,561 (“’6,561 Patent”); and 7,505,454 (“’454 Patent”).




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   Sprint initially asserted fifteen patents, but has since dropped four and recently indicated it will
 drop the ’728 and ’224 Patent as a result of the Cequel claim construction order. D.I. 445. Despite
 requests, Sprint has not withdrawn its claims based on those patents. The Asserted Patents are
 attached as Exhibits 1-9 (still asserted patents), and 57-58 (the promised to be dropped patents).


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        “Broadband Patents”: 6,343,084 (“’084 Patent”); 6,472,429 (“’429 Patent”); 6,298,064

 (“’064 Patent”); and 7,327,728 (“’728 Patent”).

        “Enhanced Services Patents”: 6,330,224 (“’224 Patent”); and 6,697,340 (“’340 Patent”).

        The Call Control and Broadband Patents are also referred to as the “Christie Patents.” The

 Broadband Patents and the ’224 Patent are also referred to as the “ATM Patents.”

        Relevant to these motions, Sprint relies on the opinions of Dr. Stephen Wicker, its technical

 expert, and Dr. Russell Mangum, its damages expert, to seek                        from Defendants.

 III.   SUMMARY JUDGMENT STANDARD

         “The court shall grant summary judgment if the movant shows that there is no genuine

 dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

 Civ. P. 56(a). The moving party has the initial burden of proving the absence of a genuinely

 disputed material fact relative to the claims in question. CelotEx. Corp. v. Catrett, 477 U.S. 317,

 330 (1986). A non-moving party asserting that a fact is genuinely disputed must support such an

 assertion by “citing to particular parts of materials in the record…or showing that the materials

 cited [by the opposing party] do not establish the absence ... of a genuine dispute ....” Fed. R. Civ.

 P. 56(c)(1). A dispute is “genuine” only if the evidence is such that a reasonable jury could return

 a verdict for the non-moving party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

 IV.    DEFENDANTS DO NOT INFRINGE THE ATM PATENTS

        Defendants move for summary judgment that the accused systems do not infringe any

 asserted claim of Broadband Patents or the ’224 Patent (collectively, the “ATM Patents”). The

 Court ruled that the “interworking unit” limitation in those patents is limited to ATM and does not

 capture IP; in so doing the Court expressly rejected Sprint’s argument that the specifications of

 these patents do not narrow the scope of the claimed interworking units to a particular type of

 packet network. Now, Sprint relies on the doctrine of equivalents to argue that the claimed ATM

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 interworking unit does capture any type of packet network, including IP. Sprint cannot erase the

 Court-imposed ATM limitation on the interworking unit via the doctrine of equivalents.

        Sprint claims to have developed the solution to interconnecting packet (asynchronous) and

 non-packet (synchronous) telephone networks. The solution that the ATM Patents attempt to

 describe relies critically on an interworking unit to perform the necessary conversion. The parties

 did not dispute that “interworking unit” has a plain meaning, as Sprint argued, of a “device that

 translates communications between asynchronous and synchronous formats” and that this term

 was ordinarily “limited by the particular type of packet-based protocol.” D.I. 162 at 7. The Court

 rejected Sprint’s argument that the invention uses an interworking unit understood according to its

 plain meaning, ruling that the specification clearly and unmistakably “disclaim[s] any meaning of

 ‘interworking unit’ beyond ATM technology.” D.I. 296 at 8.

        It is undisputed that Defendants do not use ATM interworking multiplexers and do not use

 ATM technology. To maintain its claim, Sprint tries to undo the Court’s claim construction via the

 doctrine of equivalents by arguing an “ATM interworking multiplexer” covers any packet-based

 interworking unit. But that is precisely what the Court rejected during claim construction. Sprint’s

 equivalence theory thus unwinds the claim-construction process as if it never happened,

 impermissibly rendering the Court’s ATM construction inconsequential and ineffective.

        Sprint repeatedly described “the invention” as limited to ATM and thereby distinguished

 its invention from all types of packet interworking. Now that it has, it cannot use the doctrine of

 equivalents to erase that distinction. Defendants therefore are entitled to summary judgment of

 non-infringement of the ATM Patents.




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        A.      Factual Background

                1.      Sprint Alleges It Invented the Solution to Connecting the PSTN to
                        Packet Networks

        Sprint pled that, prior to its invention, there were two separate telecommunications worlds.

 One was the Public Switched Telephone Network (“PSTN”) which carried voice in a synchronous

 format. D.I. 14 at ¶ 13. The other was “packet communications” which, “unlike the synchronous

 communications of the PSTN, could occur ‘asynchronously.’” Id. at ¶ 14. Packets, as Sprint’s

 expert Dr. Wicker explains, include a “‘payload’ of information to be communicated”—such as

 voice—along with a “header” that has “identifying bits used to route the packet through the packet

 network.”   Ex. 14 (Wicker Infring. Rpt.) ¶¶ 36-37. He further explained that packets are

 “asynchronous communications.” Id., ¶ 38.

        Sprint alleges that “the two systems”—synchronous and asynchronous (packet)—“were

 not compatible.” D.I. 14 at ¶ 14. “Interfacing” them “in a geographically expansive

 telecommunica-tions environment was not a reality, at least not before” Sprint’s inventor Joe

 Christie arrived at his solution. Id. He “devised a way to leverage the efficiencies of packet-based

 networks to make telephone calls to and from the PSTN.” Id. at ¶ 15. Sprint calls this technology

 “Voice-over-Packet (‘VoP’)” which is protected by over 120 VoP patents. Id. ¶¶ 16, 18.

                2.      Claim Construction

        “The ‘interworking unit’,” the Court noted, “is a crucial component of the claimed

 inventions.” D.I. 296 at 6. Sprint argued that “interworking unit” is “not limited by the particular

 type of packet-based protocol,” D.I. 162 at 7, urging that it be construed according to its plain

 meaning as a “device that translates communication between asynchronous and synchronous




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 formats.” Id. at 19.2 Such a device, Sprint argued, translated between “narrowband and packet

 formats,” and that the “only question becomes whether additional intrinsic evidence demonstrates

 ‘clear and unmistakable disclaimer’ or disavowal of protocols aside from ATM.” Id. at 20. The

 Court noted that reading the claims without taking the specification into account, the term

 interworking unit refers to a device that allows “calls to transfer across phone lines and packet-

 based networks.” D.I. 296 at 6. But, as the law requires, the claims should not be read in a vacuum.

 The Court found that the Broadband specification “repeatedly and consistently refers to the device

 that translates communications (i.e., the interworking unit) as an ‘ATM interworking

 multiplexer.’” Id. at 5. The Court held that these “repeated references [to ATM] … create a ‘clear

 and unmistakable’ implication that the patentee intended the term ‘interworking unit’ to mean an

 ‘ATM interworking multiplexer.’” Id. (citing Thorner v. Sony Computer Entm't Am. LLC, 669

 F.3d 1362, 1366–67 (Fed. Cir. 2012) (“[t]o constitute disclaimer, there must be a clear and

 unmistakable disclaimer”)). Finally, the Court held that “The ’224 [Patent] … also disclaim[s] any

 meaning of ‘interworking unit’ beyond ATM technology.” Id. at 8. Thus, the Court construed

 “interworking unit” to be an “ATM interworking multiplexer.”

                3.      Sprint’s Doctrine of Equivalents Infringement Allegations

        Defendants provide voice services to subscribers over cable (hybrid fiber-coaxial)

 infrastructure and an IP backbone network, relying on Voice-over-IP (VoIP) technology. Because

 IP is not ATM, Sprint concedes that Defendants do not infringe the ATM Patents literally. Instead,

 Sprint’s expert Dr. Wicker argues that Defendants’ IP gateways are equivalent to the claimed

 ATM interworking multiplexers. The core of Dr. Wicker’s doctrine of equivalents analysis is that




 2
  The Court, and therefore this motion, treats the ’728 claim’s use of the term “communication
 unit” to be the same as “interworking unit.” D.I. 296 at 8–9.

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 the accused interworking units, like the claimed interworking units, are packet-based and

 “convert[] packet-based communications into TDM format.” E.g., Ex. 13 (Wicker Rpt. ’064

 Chart) at 20. Dr. Wicker characterizes the inventions and claims as directed to packet-based

 technology generally. E.g., Ex. 14, ¶ 177 (“The claimed methods relate to the interworking

 between packet-based/non-packet-based and asynchronous/synchronous telephony network

 systems.”). His function/way/result analysis is based on generic similarities like “a header

 component and a payload component” common to any type of packet technology. Ex. 14 (Wicker

 Rpt.) ¶¶ 177–79; Ex. 13 (Wicker Rpt., ’064 Chart) at 16–17, 22–23, 26 (relying on surrounding

 non-ATM claim language with no ATM-specific analysis).3 Similarly, Dr. Wicker’s

 interchangeability opinion is that “the actual packet protocol is interchangeable” in the context of

 the Sprint patents. Ex. 14, ¶ 182. He admitted that his function/way/result and interchangeability

 analyses are directed to “fundamental aspect[s] of packet networks” that would be “true of any

 packet network.” Ex. 15 at 167:10–13, 169:18–170:6; see generally id. at 161:17–188:18. Dr.

 Wicker further admitted that in his view, the Broadband Patents “cover every way to do a packet

 based telephony service.” Ex. 15 at 1272:2–7, 1271:8–1273:14, 242:2–10. In other words,

 according to Dr. Wicker, IP is equivalent to ATM by virtue of sharing the same genus: packet data.




 3
   See also, e.g., Ex. 14 (Wicker Rpt.) ¶¶ 178–79 (focusing on generic packet-based technology
 such as “a header component and a payload component” and an interworking unit “capable of
 converting bearer traffic between packet-based/nonpacket-based” formats); Ex. 13 (Wicker Rpt.
 ’064 Chart) at 20 (equivalents opinion based on “[a] Charter interworking unit … convert[ing]
 packet-based communications into TDM format” and discussion of “interworking asynchronous
 packet-based voice communications into synchronous non-packet based user communications”);
 Ex. 16 (Wicker Reply Rpt.) ¶ 176 (“the actual packet protocol is interchangeable”), ¶ 413 n.60
 (relying on “known interchangeability between various packet‐switching technologies, including
 ATM and IP”), ¶ 413 (use of non-ATM packet technology not a distinction because “skilled
 artisans view packet technologies as interchangeable”).

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        B.      Legal Standard

        The doctrine of equivalents is not “simply the second prong of every infringement charge,

 regularly available to extend protection beyond the scope of the claims.” Duncan Parking Techs.,

 Inc. v. IPS Grp., Inc., 914 F.3d 1347, 1362 (Fed. Cir. 2019). Rather, it “prevents an accused

 infringer from avoiding infringement by changing only minor or insubstantial details of a claimed

 invention while retaining their essential functionality.” Sage Prods., Inc. v. Devon Indus., Inc., 126

 F.3d 1420, 1424 (Fed. Cir. 1997). Applied too broadly, the doctrine “conflicts with the definitional

 and public-notice functions of the statutory claiming requirement.” Warner-Jenkinson Co., Inc. v.

 Hilton Davis Chem. Co., 520 U.S. 17, 29 (1997). “[I]f a theory of equivalence would entirely

 vitiate a particular claim element, partial or complete judgment should be rendered by the court,

 as there would be no further material issue for the jury to resolve.” Id. at 39 n.8.

        C.      Argument

                1.      Sprint’s Equivalence Theories Nullify The Court’s Markman Ruling.

        During claim construction, Sprint argued that “interworking unit” covered any type of

 packet technology. D.I. 162 at 7, 19–20. The Court―on the basis of clear and unmistakable

 disavowals in the patent specification―limited “interworking unit” to ATM, finding that insofar

 as the interworking unit is concerned, ATM differs from other types of packet technologies. D.I.

 296 at 4 (“The dispute is whether the term [interworking unit] is limited to Asynchronous Transfer

 Mode (ATM)―a specific type of packet-based technology. I, like the other district courts that have

 considered this question, conclude it is.”).

        Dissatisfied with that construction, Sprint now argues―this time under the doctrine of

 equivalents―that its claims still embrace any type of packet technology. Because Defendants’

 interworking units use IP, not ATM, Sprint’s expert Dr. Wicker attempts to use the doctrine of

 equivalents to expand the scope of the claims to recapture all types of packet technologies. Dr.

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 Wicker’s function/way/result analysis relies on generic packet-based functionality and his

 interchangeability analysis is that “the actual packet protocol is interchangeable” in the context of

 the Sprint patents. Ex. 14 (Wicker Rpt.) ¶¶ 177–79, 182; Ex. 13 (Wicker Rpt., ’064 Chart) at 16–

 17, 22–23, 26. Dr. Wicker admitted that his analysis is directed―not to any unique similarities

 shared between ATM and IP―but to “fundamental aspect[s] of packet networks” that would be

 “true of any packet network.” Ex. 15 at 167:10–13, 169:18–170:6; see generally id. at 161:17–

 188:18.

        There can be no dispute that Dr. Wicker’s doctrine-of-equivalents opinions capture packet-

 based interworking generally. Dr. Wicker conceded the point at deposition, repeatedly admitting

 that in his view there is no type of packet-based telephony service that wouldn’t practice the

 Broadband Patents: Ex. 15 at 1271:8–13 (confirming his opinion that “there’s no way defendants

 could have provided a packet based telephony service to connect to the PSTN without practicing

 the Broadband patents”); id. at 1271:14–19 (cannot identify any packet-based telephony service

 that would not practice the Broadband Patents).

        Under Dr. Wicker’s theories, the Court’s ATM construction has no effect: with or without

 the ATM limitation, the Broadband Patents cover all packet-based telephony services. Despite the

 fact that the Broadband Patents are limited to ATM and the Call Control Patents are not, Dr.

 Wicker admitted that under his equivalents theories, both “have the same scope.” Id. at 1272:2–7.

 Dr. Wicker could not identify any packet-based interworking multiplexer that would not be

 equivalent to the claimed ATM interworking multiplexer:

                Q.      But in a situation where the interworking unit is
                        interworking between the packet based technology and the
                        PSTN, can you identify for me any packet based
                        interworking multiplexor that would not be equivalent to the
                        ATM multiplexor of the broadband patents?
                A.      No, I can’t.


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 Id. at 1273:8–14.

        By asserting that any interworking unit, regardless of the type of packet it translates to or

 from, is equivalent to an ATM interworking unit, Sprint eviscerates the “ATM” limitation from

 the Court’s construction. ATM is not just one aspect of the Court’s construction: that construction

 exists to limit the claims to “a specific type of packet-based technology,” namely ATM. D.I. 296

 at 4. By eliminating any distinction between ATM and packet-based interworking generally, they

 eliminate the meaning of the Court’s construction itself. If ATM interworking is equivalent to all

 interworking, then the Court’s ATM construction has no meaning.

        The Federal Circuit has repeatedly rejected approaches like Sprint’s. In Tronzo v. Biomet,

 Inc., the patentee argued that claims requiring a cup with a “generally conical outer surface” were

 infringed under the doctrine of equivalence “by a hemispherical cup.” 156 F.3d 1154, 1160 (Fed.

 Cir. 1998). The patentee’s doctrine of equivalents theories were not directed to unique similarities

 between cones and hemispheres, but rather expanded the scope of the claims to capture any shape

 of cup. Id. The Federal Circuit rejected this equivalence theory because it impermissibly vitiated

 the conical shape limitation. Id. (“According to the expert testimony, any shape would be

 equivalent to the conical limitation … [s]uch a result is impermissible … because it would write

 the ‘generally conical outer surface’ limitation out of the claims.”). Likewise here, Dr. Wicker’s

 equivalence theory that ATM interworking units are equivalent to any packet-based interworking

 unit impermissibly writes the ATM limitation out of the claims. See also, e.g., Carnegie Mellon

 Univ. v. Hoffmann-La Roche Inc., 541 F.3d 1115, 1129 (Fed. Cir. 2008) (affirming summary

 judgment of non-infringement where claim specified E. coli bacterial source and equivalence

 theory would vitiate that limitation by capturing “any bacterial source”); Lockheed Martin Corp.

 v. Space Sys./Loral, Inc., 324 F.3d 1308, 1321 (Fed. Cir. 2003) (affirming summary judgment of



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 non-infringement where “limitations required by the proper construction” would be “entirely

 vitiate[d]” by doctrine of equivalents theory).

                2.      Sprint Impermissibly Recaptures Disclaimed Non-ATM Claim Scope.

        Not only do Dr. Wicker’s theories eviscerate the Court’s ATM construction, they also erase

 its foundation: the specification’s clear and unmistakable disclaimer of non-ATM interworking

 units. Whereas the specification states that “[t]he invention is a system for providing virtual

 connections through an ATM interworking multiplexer” (Ex. 6 (’084 Patent) at Abstract), Dr.

 Wicker’s theories broaden the claims to packet-based interworking generally. Doing otherwise

 would frustrate the public’s reasonable reliance on what Sprint set forth as the scope of its

 invention. And that is precisely why Sprint cannot recapture via equivalence what it disclaimed.

        By disregarding its clear disavowals of non-ATM technology, Sprint violates the public

 notice function of patents. Warner-Jenkinson, 520 U.S. at 29. Here, the notice provided limiting

 the interworking to ATM is “clear and unmistakable,” as the Court has held. D.I. 296 at 3–9. The

 inventors plainly knew about other packet networks such as IP; the Broadband specification

 expressly discloses TCP/IP in the signaling context. E.g., Ex. 6 (’084 Patent) at 11:21–25, 12:57–

 58, 13:15–19. The named Broadband inventors even considered using IP for voice, but chose not

 to pursue it because voice over IP “was much harder” than ATM, “wasn’t ready for us to use as a

 replacement for circuit switching,” and would be “too much risk.” Ex. 10 (Gardner Dep.) at 95:19–

 96:6, 102:25–103:4. Sprint cannot use the doctrine of equivalents as an end-run around the public’s

 reasonable reliance on this clear and unmistakable disclosure. Warner-Jenkinson, 520 U.S. at 29.

        Sprint’s doctrine of equivalents theories render the Court’s ATM requirement meaningless

 and ignore the patents’ description of the invention purely in terms of ATM. They impermissibly

 negate the Court’s claim construction, improperly recapture disclaimed subject matter, and defy



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 the public notice function of patents. Defendants are entitled to summary judgment of non-

 infringement on the ATM Patents.

 V.     THE SPS CLAIM IS INVALID FOR LACK OF WRITTEN DESCRIPTION

        Claim 17 of the ’340 Patent (“the SPS Claim”) requires use of a service platform system,

 or “SPS.” During Markman, Defendants proposed that “service platform system” be limited to “a

 system containing a signaling processor, a service platform, and an ATM interworking

 multiplexer”; however the Court adopted Sprint’s “plain and ordinary meaning” construction. D.I.

 296 at 12. In agreeing with Sprint that the “plain and ordinary meaning” was sufficient, the Court

 noted the specification “is ATM-centric,” (id.), and later, in a related proceeding, ruled that the

 specification “requires that the invention converts to or from an ATM format.” Cequel Order, C.A.

 No. 18-01752-RGA-SRF, D.I. 146 at 9. Having drafted the SPS Claim without explicitly requiring

 ATM conversion and having obtained a broad construction exceeding the scope of its disclosure,

 Sprint now faces the consequences of defending an invalid claim.

        It is an “unremarkable proposition that a broad claim is invalid when the entirety of the

 specification clearly indicates that the invention is of a much narrower scope.” Carnegie Mellon

 Univ., 541 F.3d at 1127; see Gentry Gallery, Inc. v. Berkline Corp., 134 F.3d 1473, 1480 (Fed.

 Cir. 1998) (“[C]laims may be no broader than the supporting disclosure.”); Rivera v. ITC, 857 F.3d

 1315, 1320 (Fed. Cir. 2017); Ariad Pharm., Inc. v. Mass. Inst. of Tech., 560 F.3d 1366, 1376–77

 (Fed. Cir. 2009) (“[Plaintiff] maintained the breadth of these claims through claim construction

 and into trial. . . . [Plaintiff] chose to assert claims that are broad far beyond the scope of the

 disclosure provided in the specification.”), aff’d in rel. part, 598 F.3d 1336 (Fed. Cir. 2010) (en

 banc); see also Liebel-Flarsheim Co. v. Medrad, Inc., 481 F.3d 1371, 1380 (Fed. Cir. 2007)

 (invalidating claims for lack of enablement based on broad claim construction while noting “[t]he

 motto, ‘beware of what one asks for,’ might be applicable here.”).

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        There is no material dispute that the specification only describes an SPS that includes an

 interworking unit. See Ex. 9 (’340 Patent), Figs. 1, 3, 7 and 8; 3:29-30, 34-36, 45-50; 6:41-50,

 10:51-56, 11:19, 17:12, 17:34, 18:7-8, 18:19. Sprint’s expert Dr. Wicker agreed. Ex. 15 at 684:23-

 685:2. Sprint argues that the interworking unit need not be ATM, even though the specification

 unequivocally states the opposite, just as in Cequel.4

        As there is no genuine dispute Sprint’s claims are “broader than the supporting disclosure”

 because they do not require that the SPS include an ATM interworking unit—or even an

 interworking unit of any kind—while the specification never describes the use of an SPS without

 an ATM interworking unit. See In re Wilder, 736 F.2d 1516, 1517-18 (Fed. Cir. 1984) (claiming

 a “genus of indicating mechanisms” that do not require synchronous scanning not supported by

 only disclosing a synchronous scanning-indicating mechanism). The SPS claim is thus invalid.

 VI.    DR. MANGUM’S FAILURE TO ANALYZE AVAILABLE NON-INFRINGING
        ALTERNATIVES PRECLUDES SPRINT FROM RECOVERING LOST PROFITS

        As Sprint frequently observes, it has spent the past 15-plus years asserting the Asserted

 Patents against VoIP providers. But prior to this round of litigation against Defendants, Sprint has

 never once sought lost profits damages. Ex. 22 (Mangum Charter Rpt.) ¶ 64. In fact, Sprint’s

 damages experts in prior cases all bluntly admitted that Sprint is not entitled to lost profits. Ex. 38

 (Sims Vonage Rpt.), § 6; Ex. 39 (Rao TWC Rpt.), ¶¶ 72-73; Ex. 40 (Rao Comcast Rpt.), ¶¶ 65-66;

 Ex. 41 (Rao Cable One Rpt.), ¶¶ 61-62; Ex. 42 (Rao Cox Rpt.), ¶¶ 67-68.




 4
   SPS 104 contains interworking unit 114 which “may be an ATM interworking multiplexer that
 interworks between the ATM format and other formats . . . or it may be an ATM interworking unit
 that interworks between different types of ATM systems.” Ex. 9 (’340 Patent), Fig, 1; 7:63-8:1.
 SPS 104A contains interworking mux 340 which “interworks between ATM cells and other call
 formats.” Id., Fig. 3, 11:45-46. SPS 704 and 712 contain “ATM interworking mux” 710 and 718,
 and SPS 802, 804 and 806 each contain an “ATM IW MUX.” Id., Fig. 7, 18:7-8, Fig. 8; 18:19.

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        It is unsurprising, then, that Sprint cannot show entitlement to lost profits here. Sprint has

 to prove, inter alia, that “but for” Defendants’ alleged infringement, it would have earned

 additional profits from its wholesale VoIP service from the very same Defendants and that there

 were no acceptable non-infringing alternatives.5 Dr. Mangum concedes that at least one non-

 infringing alternative was available, and from a technical perspective, this alternative would have

 been just as good as using Sprint’s wholesale VoIP service. Instead, Dr. Mangum argues that this

 non-infringing alternative was economically “unacceptable” because, although the alternative was

 admittedly profitable, it would not have been as profitable as VoIP. Even though a non-infringing

 alternative can only be “unacceptable” for purposes of lost profits if it is unacceptable as compared

 to the patented service (i.e., Sprint’s wholesale VoIP service), Dr. Mangum admits that he did not

 analyze how expensive it would have been for Defendants to use Sprint’s wholesale VoIP service,

 and thus Sprint cannot satisfy its burden to show that “but for” the alleged infringement Defendants

 would have purchased Sprint’s wholesale VoIP service.

        Defendants had other acceptable non-infringing alternatives as well. For example, rather

 than offer VoIP service themselves they could have entered into paid referral arrangements with

 existing Sprint licensees who would pay Defendants fees when they obtained new customers from

 Defendants’ referrals. Dr. Mangum has no response to this. Instead, he opines that



                       . Even if true, it is irrelevant, as providing service to Defendants’ own




 5
   Dr. Mangum’s “lost profits” theory does not conform to the traditional lost profits notion of a
 patentee having lost sales to end-users due to Defendants’ allegedly infringing sales to those end-
 users. Instead, his theory assumes the “customer” (the Defendants) should have been paying Sprint
 for the accused services rather than paying another provider or providing services themselves.

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 customers is an entirely different thing than the proposed alternative of referring customers to

 Sprint licensees. Again, Sprint cannot satisfy its burden to show this alternative was unavailable.

        Finally, Defendants could simply have stayed out of the telephony business. Dr. Mangum

 responds that they would not do this for economic reasons, but he provides no support for that

 conclusion. In fact, he did not even determine whether offering VoIP telephony with Sprint would

 have been profitable for Defendants. His ipse dixit cannot satisfy Sprint’s burden. For all these

 reasons, Defendants are entitled to summary judgment that Sprint is not entitled to lost profits.

        A.      Factual Background

        Given that

                                              ,(

 Dr. Mangum unsurprisingly does not calculate any alleged lost profits based on sales to retail VoIP

 customers. Instead, he opines that, had Defendants not infringed Sprint’s patents by connecting

 their VoIP networks to the PSTN, they would have hired Sprint to handle such interconnections.

 Ex. 22 (Mangum Charter Rpt.), ¶¶ 88-89. Dr. Mangum calculates Sprint’s alleged lost profits based

 on the average per subscriber, per month (“PSPM”) fee Sprint’s wholesale VoIP customers paid.

 Id., ¶¶ 80, 82 & Mangum Exs. 1-2. That average fee over the damages period is about                   .

 Id. at Mangum Ex. 1.

        Under his reasonable royalty “analytical approach” alternative to lost profits, Dr. Mangum

 says that Defendants could have offered telephony service by employing circuit-switched networks

 rather than VoIP networks, and that this would have been both technologically acceptable and

 profitable. Id., ¶¶ 70, 88, 192 & Table 3; Ex. 21 at 70:18–71:16, 77:21–78:5, 601:10–15, 602:16–

 603:1. By virtue of using circuit-switching as the comparison point in his analytical approach, Dr.

 Mangum concedes that it would not infringe Sprint’s patents (this must be true: if Defendants’

 own networks were circuit-switched, connecting to the PSTN would not involve connecting a

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 packet network to a circuit-switched network). Dr. Mangum contends, however, that the circuit

 switch alternative would have been “significantly more expensive than VoIP” (although,

 admittedly still profitable). Ex. 22, ¶¶ 70, 192. But even if more expensive, circuit switching might

 well have been less expensive than offering VoIP service using Sprint’s interconnect service;

 indeed, Dr. Mangum calculates Defendants’ costs with Sprint would have been an average of

        during the damages period in addition to Defendants’ other VoIP costs.

        Dr. Mangum admits he did not analyze Defendants’ overall costs or profits had they offered

 VoIP service using Sprint’s interconnect service. Ex. 21 at 100:23-101:5; 163:25-164:14; 166:18-

 22; 170:18-171:1; Ex. 22 (Mangum Charter Rpt.) at Mangum Ex. 1. He did not analyze the

 economic feasibility of offering circuit-switched telephony instead of VoIP telephony using

 Sprint’s interconnection service. Ex. 21 at 98:25-101:6. Instead, he merely opined—based on

 third-party data—that the non-infringing circuit-switched alternative would have been

        less profitable than Defendants’ allegedly infringing VoIP services (without Sprint’s

 services). Ex. 22 (Mangum Charter Rpt.) at ¶¶ 198–200, Tables 3, 5, and 7.

        In addition to the circuit switch non-infringing alternative, Charter’s damages expert

 explained that Defendants had the option of referring customers to one of the existing licensees of

 Sprint’s patents in exchange for a fee. In other words, Defendants would not themselves offer retail

 VoIP, but would instead take referral or “marketing” fees from a VoIP telephony provider that was

 licensed under the Sprint patents. Ex. 23 (Mulhern Rpt.) at ¶¶ 139-141.6 One of those licensees,



 6
  Mr. Bakewell, Medicom’s, ABB’s, Grande’s, and WOW’s damages expert, did not explicitly
 opine about a marketing fee arrangement, but observed that Vonage was a third party providing
 VoIP services that could qualify as a potential non-infringing alternative. See Ex. 32 (Mediacom
 Rpt.) ¶ 167; Ex. 33 (ABB Rpt.) ¶ 169; Ex. 34 (Grande Rpt.) ¶ 166; Ex. 35 (WOW Rpt.) ¶ 168. Mr.
 Bakewell further noted that
           Ex. 32 (Mediacom Rpt.) ¶ 171.

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 Vonage,

                                     . Id.;




        Dr. Mangum contends that



             Ex. 24 (Mangum Reply Rpt.) at ¶ 49. However, Charter’s expert did not suggest a

 wholesale arrangement whereby Charter would provide service to its own customers with

 Vonage’s help. Instead, Charter’s expert suggested an arrangement whereby Vonage would

 provide retail service to its own                                                                .

 Vonage would simply pay fees to Charter for customers referred to it by Charter.

        B.      Legal Standard

        To establish lost profits, Sprint must “show that it would have received the additional

 profits ‘but for’ the infringement.” King Instruments Corp. v. Perego, 65 F.3d 941, 952 (Fed. Cir.

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 1995). “Only after the court has decided, as a matter of law, that lost profits are available does the

 jury then get to determine the amount of those lost profits.” Wechsler v. Macke Int’l Trade, Inc.,

 486 F.3d 1286, 1293 (Fed. Cir. 2007). Here, Sprint seeks to show “but for” causation exclusively

 through the four-factor Panduit test, which requires showing “(1) a demand for the patented

 product, (2) the absence of an acceptable, non-infringing substitute for the patented product, (3)

 the patent owner’s manufacturing and marketing capability to exploit the demand for the patented

 product, and (4) the amount of profit the patent owner would have expected to make if the patent

 owner had made the infringer’s sales.” SmithKline Diagnostics, Inc. v. Helena Labs. Corp., 926

 F.2d 1161, 1165 (Fed. Cir. 1991) (citing Panduit Corp. v. Stahlin Bros. Fibre Works, 575 F.2d

 1152, 1156 (6th Cir. 1978)). It is Sprint’s burden to establish each factor. Id. at 1165.

        “To prove the absence of acceptable, non-infringing alternatives, the patentee may prove

 either that the potential alternative was not acceptable to potential customers or was not available

 at the time.” Presidio Components, Inc. v. Am. Tech. Ceramics Corp., 875 F.3d 1369, 1380 (Fed.

 Cir. 2017) (citation omitted). The relevant inquiry is whether the non-infringing alternatives (here,

 circuit-switching, a partnership with a licensed provider, or leaving the market) would have been

 acceptable as compared to the patentee’s product (here, VoIP with Sprint’s interconnect service);

 not an infringing product (here, Defendants’ allegedly infringing VoIP service). Id. at 1381.

        C.      Argument

        Defendants have identified at least three acceptable non-infringing alternatives to hiring

 Sprint to do interconnection between VoIP and PSTN networks, including (1) deploying circuit-

 switched networks instead of VoIP networks; (2) referring customers to an existing Sprint licensee,

 such as Vonage, in exchange for fees; and (3) never entering the telephony business at all. Because

 Sprint has not “made a showing sufficient to establish” that these alternatives would have been

 unacceptable or infringing, Defendants are entitled to summary judgment of no lost profits.

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                1.      Sprint Cannot Show That Circuit Switching Would Have Been An
                        Unacceptable Non-Infringing Alternative.

        Sprint’s expert Dr. Mangum admits that “[t]raditional circuit-switched telephony is a non-

 infringing alternative [ ] from a technical perspective” (Ex. 22 (Mangum Charter Rpt.), ¶ 70) and

 that it could deliver to consumers results and features similar to VoIP. See id. at ¶ 88 (conceding

 that “traditional circuit-switched telephony may have delivered a similar result to consumers”),

 id.,¶ 198 (noting that circuit-switched and VoIP services have “comparable feature sets”). There

 is no dispute that circuit-switched telephony was an available non-infringing alternative.7

        Instead, Dr. Mangum argues that—although the circuit-switched alternative would have

 been profitable8—it was not an acceptable non-infringing alternative because it “is significantly

 more expensive than VoIP,” based entirely on his analytical approach analysis, where he compares

 the costs of offering infringing VoIP telephony to the admittedly non-infringing circuit-switched

 alternative. See id. at ¶¶ 70, 198-200 & Table 7. But that is not the legally relevant comparison for

 lost profits; rather, Dr. Mangum is required to show that the non-infringing alternative was

 unacceptable as compared to the patentee’s product, not the infringing product. Presidio, 875 F.3d

 at 1380-81. The legally relevant comparison is the cost of circuit-switched telephony versus the

 cost of Defendants’ VoIP telephony when incurring the the additional costs of Sprint’s

 interconnecting service, and Dr. Mangum’s own calculations show that Sprint’s services would



 7
   Although Dr. Wicker says “he is not aware of evidence” that cable companies would be able to
 set up a circuit switch network, that certain unidentified aspects of the network “may well still”
 have infringed and that circuit switched networks had “inefficiencies,” such speculation is
 insufficient to carry Sprint’s burden of showing that circuit switch was not an acceptable non-
 infringing alternative. See Ex. 14, ¶¶ 211-212. Indeed, Charter was using circuit switched networks
 in 2002. Ex. 22 (Mangum Charter Rpt.) ¶ 49.
 8
   Dr. Mangum calculates that the “normal” profits that cable companies could expect (even after
 deducting capital expenses) for offering circuit-switched telephony would be                , with a
 profit margin of         . Ex. 22 (Mangum Charter Rpt.) ¶ 192.

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 have averaged               on top of Defendants’ other costs of offering VoIP. 9 Dr. Mangum

 admitted that he never did this analysis. Ex. 21 at 100:23-101:5; 163:25-164:14; 166:18-22;

 170:18-171:1. Indeed, as he admits, he never attempted to determine Defendants’ costs or profits

 from offering VoIP services using Sprint’s interconnecting service. Id.10 Because Sprint has not

 made any showing (much less “a showing sufficient to establish”) that circuit switching was an

 unacceptable non-infringing alternative to Sprint’s wholesale VoIP service, Defendants are

 entitled to summary judgment that Sprint cannot recover lost profits.

                 2.     Sprint Cannot Show Defendants Were Prohibited From Partnering
                        With a Licensed VoIP Retailer Such As Vonage.

        Defendants had the non-infringing alternative of exiting the retail VoIP business

 completely and instead entering into a marketing partnership with a licensed VoIP retailer such as

 Vonage,                                                                                            .

 Defendants would encourage their customers to become Vonage customers, and Vonage would

 pay Defendants marketing fees in connection with these referrals. Ex. 23 (Mulhern Rpt.), ¶¶ 139-

 141. Dr. Mangum does not contend that such an arrangement would be logistically, technically, or

 fiscally infeasible, or that it would be an unacceptable alternative to Defendants or their




 9
   If anything, Dr. Mangum’s report demonstrates that circuit switching is actually much cheaper
 than offering VoIP with Sprint’s service. Dr. Mangum alleges that Defendants’ allegedly
 infringing VoIP service saved it              over the non-infringing circuit switching alternative.
 However, according to Dr. Mangum, Defendants would have had to pay Sprint an additional
         in the but-for world in order to avoid infringement. Thus, if anything, the non-infringing
 alternative is actually             cheaper than using Sprint’s service.
 10
     Dr. Mangum also ignores evidence that many cable companies, including Charter, RCN,
 Grande, and Wave—Defendants in the present action—have provided (and some continue to
 provide) circuit-switched telephony services. See Ex. 21, (Mangum 6/5/20 Dep.) at 593:12-23; Ex.
 22 (Mangum Rpt.), ¶ 49.

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 customers.11 See Ex. 24 (Mangum Charter Reply Rpt.), ¶ 49. Instead, he argues that

                                                                                   . Id. But that is not

 the non-infringing alternative described by Charter’s expert; there is a difference between exiting

 the retail VoIP business in favor a marketing partnership with another VoIP retailer and purchasing

 wholesale VoIP services to offer retail VoIP services directly. Sprint’s licenses to retailers such as

 Vonage

                           . See, e.g.,                                                     Sprint has

 not made “a showing sufficient to establish” that such a partnership is prohibited or would be less

 profitable than connecting with Sprint. For this reason, Defendants are entitled to summary

 judgment that Sprint cannot recover lost profits.12

                3.      Sprint Cannot Show That Defendants Would Have Entered The
                        Telephony Business If The Alternative Was Buying Sprint’s
                        Interconnection Service.

        Of course, as Defendants’ damages experts explained, the defendant cable companies

 always had the option of simply not providing telephony service. Ex. 23 (Mulhern Reb. Rpt.), ⁋

 116; Ex. 30 (Pedigo Rpt.), ¶ 58. In that event, because



                                                                                                     at

 291:14–292:4; Ex. 23 (Mulhern Rpt.), ⁋ 116. Sprint’s “profits” would have been exactly $0. Id.




 11
    Dr. Mangum also argues, without support, that Defendants would not want to partner with
 competitors in the retail VoIP market. Ex. 24 (Mangum Charter Reply Rpt.) ¶ 49. Under this
 alternative, there would be no competition as Defendants would no longer be in that business.
 12
    Although                                                              any remaining issues of
 contract interpretation are for the Court to resolve. Shamberg, Johnson & Bergman, Chtd. v.
 Oliver, 289 Kan. 891, 900 (Kan. 2009) (interpretation of a written contract is a matter of law); Ex.
 44 (Vonage Agreement) at Article 12.7 (agreement construed under laws of Kansas).

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           Dr. Mangum does not dispute this. Instead, he contends that Defendants would have

 provided telephony service because of purported “economic benefits” they receive in connection

 with their ability to promote other products and services to their telephony customers. Ex. 22

 (Mangum Rpt.), ¶ 219. However, Dr. Mangum admits that he did not and cannot quantify these

 speculative “economic benefits.” Id. For that reason alone Sprint cannot carry its burden of

 showing that Defendants would have provided telephony service. Moreover, Dr. Mangum made

 no attempt to determine Defendants’ costs or profits of offering VoIP telephony using Sprint’s

 interconnection service, or even whether this service would have been profitable at all. Ex. 21 at

 100:23-101:5; 163:25-164:14; 166:18-22; 170:18-171:1. For all Dr. Mangum knows Defendants

 would actually lose money by using Sprint’s service. And he provides no explanation for why

 Defendants would offer a money-losing service.13 As Sprint has not made “a showing sufficient to

 establish” that Defendants would have provided telephony service if they had to pay Sprint,

 Defendants are entitled to summary judgment of no lost profits.

 VII.      SPRINT CANNOT RECOVER PRE-SUIT DAMAGES FOR THE MARKING
           PATENTS BECAUSE SPRINT FAILED TO MARK ITS PRODUCTS

           Sprint initially asserted apparatus and method claims against Defendants for the Asserted

 Patents containing apparatus claims (the “Marking Patents”).14 Sprint also claims to have practiced

 the Marking Patents without marking or providing pre-suit notice. Defendants request summary

 judgment of no pre-suit damages for the Marking Patents pursuant to 35 U.S.C § 287.



 13
    Even if Sprint had shown Defendants could earn some profit after paying Sprint                for
 its interconnect service, Sprint still has not shown that Defendants would have agreed to this price
 in a “but for” world where Sprint had no way to earn this revenue without Defendants’ full
 cooperation. Defendants are not aware of any court awarding lost profits to a patentee who could
 only make a profit in the “but for” world with the full cooperation of the accused infringer.
 14
      I.e., the ’224, ’340, ’728, ’429; ’084, ’064, ’932, ’6,561, and ’454 Patents.

                                                     21
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        A.      Legal Standard

        Under 35 U.S.C. § 287, “[a] party that does not mark a patented article is not entitled to

 damages for infringement prior to actual notice.” Crown Packaging Tech., Inc. v. Rexam Beverage

 Can Co., 559 F.3d 1308, 1316 (Fed. Cir. 2009). “Actual notice requires the affirmative

 communication of a specific charge of infringement by a specific accused product or device.”

 Amsted Indus. Inc. v. Buckeye Steel Castings Co., 24 F.3d 178, 187 (Fed. Cir. 1994). “The patentee

 bears the burden of pleading and proving” compliance with the marking requirement. Arctic Cat

 Inc. v. Bombardier Recreational Prods. Inc., 876 F.3d 1350, 1366 (Fed. Cir. 2017). “A patentee’s

 licensees must also comply with § 287.” Id.; see also Amsted Indus., 24 F.3d at 185.

        B.      Argument

                1.      Sprint Alleges That It And Its Licensees Practice The Marking Patents.

        Sprint contends that its wholesale VoIP service practiced the Marking Patents. Ex. 46 at

 11–12; Ex. 14 (Wicker Rpt.), ¶¶194–95; Ex. 48 at 403:20–404:2; Ex. 43 at 282:6–16, 291:4–13.

 Sprint licensed these patents to companies selling VoIP, and contends its licensees “have offered

 services that use” the Marking Patents. Ex. 46 at 12; Ex. 49 at 395; Ex. 50 at 362; Ex. 51 at 837.

                2.      Sprint Asserted Apparatus Claims, Triggering The Marking Statute.

        If a patentee “initially assert[s] an apparatus claim” then “the marking statute is applicable

 to that patent.” Siemens Mobility Inc. v. Westinghouse Air Brake Techs. Corp., No. CV 16-284-

 LPS-CJB, 2018 WL 7893901, at *4 (D. Del. Dec. 17, 2018); see also Am. Med. Sys., Inc. v. Med.

 Eng’g Corp., 6 F.3d 1523, 1538 (Fed. Cir. 1993). “To further conclude that application of the

 statute turns on a patent holder’s decision to drop apparatus claims at some point during litigation

 defies logic.” Huawei Techs. Co. Ltd. v. T-Mobile US, Inc., No. 2:16-CV-00055-JRG-RSP, 2017

 WL 5165606, at *2-3 (E.D. Tex. Oct. 15, 2017); see also Unwired Planet, LLC v. Apple Inc., No.

 13-CV-04134-VC, 2017 WL 1175379, at *4 (N.D. Cal. Feb. 14, 2017). Here, Sprint’s initial

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 assertion of apparatus claims triggered the marking statute for the Marking Patents.

           Sprint asserted at least one apparatus claim in each Marking Patent by alleging that

 Defendants infringed via “making” “products.” See, e.g., D.I. 14, at ¶ 77 (alleging that “Charter

 directly infringed the ’084 Patent by making, using, selling, and offering for sale broadband and/or

 packet-based telephony products or services” that (allegedly) infringe “at least claim 1” (emphasis

 added)).15 This constitutes assertion of apparatus claims because the “manufacture of equipment

 to perform a claimed method is not direct infringement within the meaning of 35 U.S.C. § 271(a).”

 Moba, B.V. v. Diamond Automation, Inc., 325 F.3d 1306, 1313 (Fed. Cir. 2003).

           Sprint also accused products that were “capable of receiving” or “capable of placing”

 certain types of calls—an allegation that applies to apparatus claims. Finjan, 626 F.3d at 1204; see

 also Ormco Corp. v. Align Tech., Inc., 463 F.3d 1299, 1311 (Fed. Cir. 2006) (method claims are

 not infringed “by the sale of an apparatus that is capable of infringing use.”). 16 Sprint could have

 limited its allegations to method claims or omitted allegations directed to “making,” but it did

 neither. Sprint’s actions triggered the marking statute’s requirements, and Sprint’s later narrowing

 of its claims to method only does not change that result.

                  3.     Sprint Failed To Provide Actual Or Constructive Notice Under §
                         287(a).

           For at least Mediacom, Wave, Wide Open West, and Charter, Sprint



      , yet failed to provide notice of alleged infringement. Mr. Ball, Sprint’s former in-house IP


 15
    The same is true of the other Defendant groups. D.I. 25, Atlantic Broadband, No. 1:18-cv-00362-
 RGA, ¶ 70; D.I. 16, WideOpenWest et al., No. 1:18-cv-00361-RGA, ¶ 68; D.I. 23, Grande et al.,
 No. 1:18-cv-00363-RGA, ¶ 95; D.I. 9, Mediacom, 1:17-cv-01736-RGA, ¶ 65.
 16
    E.g., D.I. 14, Charter, No. 1:17-cv-01734-RGA, ¶ 77; D.I. 25, Atlantic Broadband, No. 1:18-
 cv-00362-RGA, ¶ 70; D.I. 16, WideOpenWest et al., No. 1:18-cv-00361-RGA, ¶ 68; D.I. 23,
 Grande et al., No. 1:18-cv-00363-RGA, ¶ 95; D.I. 9, Mediacom, 17-cv-01736-RGA, ¶ 70.

                                                  23
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 counsel and corporate designee regarding communications with Charter about its alleged

 infringement (Ex. 48 at 23:3–24:17), confirmed that “




                                Id. at 132:13–17; 164:23–165:2. Mr. Ball confirmed the same with

 respect to the remaining Defendants. See id. at 395:25–398:22, 428:23–429:15, 430:15–20, 431:2–

 7, 433:18–434:5, 445:15–446:8. Thus, Sprint cannot bear its burden of proving actual notice under

 § 287(a) to Defendants prior to filing suit. Arctic Cat, 876 F.3d at 1366. Sprint also admits




                                                                                       Thus, there is

 no genuine dispute that the customer-premise equipment involved in VoIP services (and included

 in Sprint’s infringement expert report), such as the Embedded Media Terminal Adapter (“eMTA”)

 or the VoIP phone itself, could have been marked with patent numbers but were not.17 See, e.g.,

 Ex. 56 at 644 (showing eMTA and VoIP phone in “customer home”); see also Ex. 47 at 2.

        Because Sprint failed to provide pre-suit notice as required by the marking statute,

 Defendants are entitled to summary judgment of no pre-suit damages for the Marking Patents.

 VIII. DAUBERT STANDARD

        Fed. R. Evid. 702 governs the admissibility of expert testimony. The burden of

 admissibility lies with the offering party. Withrow v. Spears, 967 F. Supp. 2d 982, 991 (D. Del.



 17
   Courts addressing similar situations have found that customer-premise equipment constitutes a
 tangible item that can be marked. See Inline Connection Corp. v. AOL Time Warner Inc., 465 F.
 Supp. 2d 312, 320–21 (D. Del. 2006) (finding that wall jack used for internet access could have
 been marked); Ultratec, Inc. v. Sorenson Commc’ns, Inc., 45 F. Supp. 3d 881, 929–30 (W.D. Wis.
 2014) (finding that patentee’s phones needed to be marked).

                                                 24
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 2013). The requirements set forth in Rule 702 “embody ‘three distinct substantive restrictions on

 the admission of expert testimony: qualifications, reliability, and fit.’” Id. (quoting Elcock v. Kmart

 Corp., 233 F.3d 734, 741 (3d. Cir. 2000)). “Reliability” “mandates that the relevant expert

 testimony ‘must be supported by appropriate validation—i.e., good grounds, based on what is

 known,’” “should be ‘ground[ed] in the methods and procedures of science,’” and must “be ‘more

 than subjective belief or unsupported speculation.’” Id. at 991–92 (quoting Daubert v. Merrell

 Dow Pharms. Inc., 509 U.S. 579 (1993)). “Fit” mandates that “the testimony must ‘assist the trier

 of fact to understand the evidence or to determine a fact in issue’ and have ‘a valid scientific

 connection to the pertinent inquiry.’” Id. (quoting Daubert, 509 U.S. at 591–92).

 IX.    DR. MANGUM’S ANALYSES ARE UNRELIABLE AND UNSUPPORTED

        Pursuant to Fed. R. Evid. 702, Defendants respectfully move to exclude Dr. Mangum’s:

 (1) Georgia-Pacific royalty opinion because the verdicts and settlement agreements upon which

 he relies are not comparable to the hypothetical negotiation; (2) lost profits opinion because it

 improperly relies on unsupported conclusions; (3) “analytical approach” royalty opinion because

 it improperly assigns to Sprint 100% of the alleged cost savings from using the patented

 technology; (4) royalty opinion for the two Enhanced Services Patents because his methodology

 has no connection to the alleged value of those patents; and (5) all damages opinions for failure to

 apportion to reflect the contribution of the patented technology.

        A.      Factual Background

        Dr. Mangum calculates Sprint’s alleged damages under three theories: lost profits, an

 “analytical approach” royalty, and a Georgia-Pacific royalty. Ex. 21 at 16:4–16.18 The Georgia-

 Pacific royalty is predicated on eleven settlement agreements and two jury verdicts from Sprint’s


  Because Dr. Mangum’s methodologies are common to all Defendants, this motion cites to Dr.
 18

 Mangum’s Sprint v. Charter report and cites to other reports only where necessary.

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 prior litigations (“the Litigation Materials”). Ex. 22 (Mangum Charter Rpt.) ¶¶ 94–147. According

 to Dr. Mangum, “the most relevant” Litigation Materials are (1) the 2007 Vonage verdict, (2) the

 2017 Time Warner Cable (“TWC”) verdict, (3) the 2006 VoiceGlo settlement, and (4) the 2019

 MetroCast settlement (from after this litigation began). Ex. 21 at 463:22–464:11; Ex. 22 (Mangum

 Charter Rpt.) ¶¶ 205–208. They are the foundation for his conclusion that the hypothetical

 negotiation would yield a                royalty for all Asserted Patents through the expiration of

 the Christie Patents on May 5, 2014. For the Enhanced Services Patents, which expired November

 22, 2016, Dr. Mangum calculates a reasonable royalty rate of                    for the time period

 following the Christie Patents’ expiration. See, e.g., Ex. 22 (Mangum Charter Rpt.) ¶¶ 10, 239.

        Dr. Mangum arrives at an alternate royalty for all Defendants of                     using an

 “analytical approach,” which compares the anticipated profits for a cable company providing VoIP

 service to the profits from traditional circuit-switched services. Ex. 21 at 74:24–75:16, 76:5–77:10;

 Ex. 22 (Mangum Charter Rpt.) ¶¶ 186–200. This analysis relies on the assumption that Defendants

 could implement circuit-switch instead of VoIP telephony, but that the latter would be less

 expensive. See Ex. 21 at 102:2–25. Dr. Mangum also opines that Sprint is entitled to lost profits

 based on its wholesale VoIP service. As part of this analysis, Dr. Mangum assumes that no

 company could provide retail VoIP telephone service without Sprint (Ex. 21 at 124:9–15) and,

 further, that Sprint would have the capacity to provide wholesale VoIP services to meet demand

 for VoIP during the life of the Asserted Patents. Ex. 22 (Mangum Charter Rpt.) ¶¶ 74–78.

        B.      Argument

                1.      Dr. Mangum’s Hypothetical Negotiation Construct is Impermissibly
                        Predicated on Verdicts and Other Non-Comparable Litigation
                        Materials.

        Generally, “[a] jury verdict does not represent evidence from which a hypothetical

 negotiation can be reliably determined.” Acceleration Bay LLC v. Activision Blizzard, Inc., 324 F.

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 Supp. 3d 470, 489 (D. Del. 2018).19 But of Dr. Mangum’s four “most relevant” Litigation

 Materials, the two jury verdicts serve as the ultimate foundation for his                    rate. The

 Vonage verdict involved a 5% royalty, which translates to an effective                   rate, (Ex. 22

 (Mangum Charter Rpt.) at Mangum Ex. 5), and that rate served as the basis for the damages award

 by the TWC jury. Ex. 21 at 363:24–364:5, 366:8–17. To conclude that the VoiceGlo and MetroCast

 settlements support the               rate, Dr. Mangum relies on the verdicts; when asked to explain

 how these two settlements translated into a                      rate given that neither provided a

 mathematical basis to calculate that figure (Ex. 21 at 570:5–14, 571:3–6), Dr. Mangum testified

 that reliance on the verdicts is a critical part of his overall analysis and discussion of the verdicts

 is necessary to “fully explain” his approach. Ex. 21 at 348:6–16, 353:18–354:2, 360:21–361:12,

 362:13–19, 372:19–24. He also points to language in the MetroCast settlement describing

                                                             —language that finds no support in the

 considerations underlying that settlement and that, Dr. Mangum agrees, could have been placed in

 the settlement by Sprint’s lawyers to help buttress the                     rate for this co-pending

 litigation. Ex. 21 at 348:6–16; see also Ex. 23 (Mulhern Reb. Rpt.) ¶ 261.

        Dr. Mangum’s reliance on the Vonage and TWC verdicts, which rests on an assumption

 that jurors engage in something akin to a damages expert’s analysis, is improper.20 He claims that




 19
    Although the Federal Circuit recently affirmed a reasonable royalty partially predicated on a
 jury verdict in the Sprint v. TWC case, the jury verdict preceded the hypothetical negotiation date.
 760 F. App’x 977, 981 (Fed. Cir. 2019). That court has not authorized the use of jury verdicts that
 follow the hypothetical negotiation by years (e.g., 5 and 15 years, for Charter; 3 and 13 years, for
 RCN; 2 and 12 years, for Grande; 2 and 12 years, for ABB; etc.).
 20
    These jury verdicts are inadmissible. See, e.g., Coleman Motor Co. v. Chrysler Corp., 525 F.2d
 1338, 1351 (3d Cir. 1975) (“A jury is likely to give a prior verdict against the same defendant more
 weight than it warrants. The admission of a prior verdict creates the possibility that the jury will
 defer to the earlier result and thus will, effectively, decide a case on evidence not before it.”).
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 “jury verdicts are informative in considering the outcome of a hypothetical negotiation” because

 “[a] jury is presented with relevant facts and circumstances for the matter, and is asked to

 reconstruct the but for world that would have existed just prior to first infringement,” which (he

 says) “is a similar exercise that a damages expert goes through.” Ex. 24 (Mangum Charter Reply

 Rpt.) ¶ 160. Indeed, Dr. Mangum “would not agree” with this Court’s observation that a verdict

 is, “at best, an informed lay opinion.” Compare Ex. 21 at 403:25-404:2, with Acceleration Bay,

 324 F. Supp. 3d at 489. Although the verdict at issue in Acceleration Bay did not involve a patent

 that was part of the hypothetical negotiation, the same reasoning applies here: lay juries in Vonage

 and TWC considered different expert opinions, licensees, accused products and services, claim

 constructions, types of asserted claims, hypothetical negotiation dates,21 and license timing and

 scope, all of which render the verdicts incomparable to the hypothetical negotiation.

        Dr. Mangum also ignores that all of the Litigation Materials are “tainted by the coercive

 environment of patent litigation,” and do not reflect the hypothetical negotiation, “the premise of

 which assumes a voluntary agreement will be reached between a willing licensor and a willing

 licensee, with validity and infringement of the patent not being disputed.” LaserDynamics, Inc. v.

 Quanta Comput. USA, Inc., 694 F.3d 51, 77 (Fed. Cir. 2012). Instead, Dr. Mangum claims that the

 Litigation Materials evidence “widespread infringement” of the Asserted Patents, justifying his

              royalty (see, e.g., Ex. 22 (Mangum Charter Rpt.) ¶¶ 206–208), even though none of




 Wrapping the prior jury verdicts into expert testimony is no less offensive; the expert testimony
 should be inadmissible for the same policy reasons.
 21
   The hypothetical negotiation in TWC took place in 2010, years after the hypothetical negotiation
 dates of Charter (2002-2003), RCN (2004) and Grande (2005), ABB (2005/2006), WOW (2008)
 and Wave’s (2008). Ex. 23 (Mulhern Reb. Rpt.) ¶ 275; Ex. 26 (Mangum Mediacom Rpt.) ¶ 187;
 Ex. 27 (Mangum ABB Rpt.) ¶ 181; Ex. 28 (Mangum Grande Rpt.) ¶ 181; Ex. 29 (Mangum WOW
 Rpt.) ¶ 177.

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 the settlements                                                         . See Ex. 23 (Mulhern Reb.

 Rpt.) at ¶ 120, & n.288, ¶ 335. The fact that many (or all, for Charter, RCN, and Grande) of the

 Litigation Materials post-date the hypothetical negotiations only exacerbates the comparability

 chasm.22 ePlus, Inc. v. Lawson Software, 764 F. Supp. 2d 807, 813 (E.D. Va. 2011) (excluding

 Mangum’s opinions where “[t]he minimal probative value that can be attributable to settlement

 agreements that ensue [from] litigation is even less where, as here, the settlement agreements

 occurred years after the hypothetical negotiation.”), aff’d, 700 F.3d 509 (Fed. Cir. 2012).

        Sprint itself advanced this same position before this Court, and won. See Sprint Commc’ns

 Co. L.P. v. Comcast IP Holdings, LLC, No. C.A. No. 12-1013-RGA, D.I. 245 at 261–63, 267–68

 (D. Del. Jan. 30, 2015) (arguing that settlement licenses “are not sufficiently comparable to the

 license that would have been reached at the hypothetical negotiation” due to underlying litigation

 context and time gap); Sprint Commc’ns Co. L.P. v. Comcast IP Holdings, LLC, No. 12–1013–

 RGA, 2015 WL 456154, at *2 (D. Del. Jan. 30, 2015) (excluding these licenses due to lack of

 comparability). Sprint also previously argued that the VoiceGlo settlement was not a “comparable

 license” due to the litigation context. Sprint Commc’ns Co. L.P., v. Vonage Holdings Corp., No.

 05-2433-JWL, D.I. 287 at 11 (D. Kan. Aug. 17, 2007). Sprint was right: “Because Sprint’s

 settlement with VoiceGlo was made during pending litigation, it is not evidence of a reasonable

 royalty and must be excluded.” Id. at 12; see also Zimmer Surgical, Inc. v. Stryker Corp., 365 F.

 Supp. 3d 466, 496 (D. Del. 2019). Dr. Mangum fails to address additional economic factors that

 independently render the Litigation Materials incomparable to the hypothetical negotiation.


 22
   The Litigation Materials post-date Charter’s hypothetical negotiation dates by between 3 and 18
 years. Ex. 23 (Mulhern Reb. Rpt.) ¶ 281, Mulhern Ex. 35. The Litigation Materials all also post-
 date the hypothetical negotiation for RCN (2004) and Grande (2005), and most post-date the
 hypothetical negotiation for ABB (2005/2006). Many of them also post-date the hypothetical
 negotiations for Wave and WOW (2008) and Mediacom (2010).

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        First, rather than address the economic and technical changes in the years post-dating the

 hypothetical negotiation, Dr. Mangum relies on the so-called “Book of Wisdom” as a time machine

 to transport the unadjusted Litigation Materials into a hypothetical negotiation occurring years

 earlier. See, e.g., Ex. 22 (Mangum Charter Rpt.) at n.407. But, as Sprint has successfully argued

 in a prior litigation, the Book of Wisdom “has not been applied to bring in litigation settlement

 agreements that occurred significantly after the hypothetical negotiation.” Sprint v. Comcast, C.A.

 No. 12-1013-RGA, D.I. 245 at 263, n.7; see also Comcast IP Holdings, 2015 WL 456154, at *1

 (excluding reliance of license agreements that “occurred a number of years after the hypothetical

 negotiation date”). The Federal Circuit has held license agreements—including settlement

 agreements—to be irrelevant to the hypothetical negotiation analysis where such agreements post-

 dated the hypothetical negotiation date by only a few years. See LaserDynamics, 694 F.3d at 78;

 see also Odetics, Inc. v. Storage Tech. Corp., 185 F.3d 1259, 1277 (Fed. Cir. 1999) (noting that

 “the age of the license agreements … made those agreements irrelevant for the hypothetical

 negotiation analysis” when they post-dated the hypothetical negotiation by 4-5 years).

        Second, Dr. Mangum does not address economic differences between the past defendants

 and the present Defendants—such as line of business, product offerings, customers, size, and

 amount paid to Sprint—that must be accounted for. See Finjan, Inc. v. Secure Computing Corp.,

 626 F.3d 1197, 1211 (Fed. Cir. 2010). For example, Vonage and VoiceGlo were both pure

 telephony companies focused on VoIP services (Ex. 23 (Mulhern Reb. Rpt.) ¶ 268), whereas

 Defendants are cable companies that sell internet and TV in addition to phone. Id. ¶¶ 24, 365; Ex.

 26 (Mangum Mediacom Rpt.) ¶ 15; Ex. 27 (Mangum ABB Rpt.) ¶ 15; Ex. 28 (Mangum Grande

 Rpt.) ¶ 15; Ex. 29 (Mangum WOW Rpt.) ¶ 15. Dr. Mangum also ignores what the settling parties

 actually paid. VoiceGlo exited the VoIP market less than a year after settling, paying a total of



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                        . Ex. 23 (Mulhern Reb. Rpt.) ¶¶ 248–49. By contrast, Dr. Mangum opines

 that Charter should pay              based on the same settlement—a factor of          times more.

 Ex. 22 (Mangum Charter Rpt.) at Fig. 2. MetroCast paid Sprint only                      times less

 than what Dr. Mangum opines Charter should pay. Ex. 23 (Mulhern Reb. Rpt.) ¶ 260. Dr.

 Mangum’s total disregard for variations in economic circumstances is also reflected in his opinion

 that every Defendant, whether large or small, nationwide or regional, in a hypothetical negotiation

 in 2002 or in 2010, pays the exact same royalty:              . Ex. 21 at 449:8–16.

        Finally, Dr. Mangum fails to address the ways in which the settlements themselves differ

 from the hypothetical licenses. Nearly all of the settlements (including the VoiceGlo and

 MetroCast settlements)

                                                         . Ex. 23 (Mulhern Reb. Rpt.) ¶¶ 139, 270-

 71, Mulhern Exs. 27, 35. The hypothetical license, however, would encompass only the Asserted

 Patents, a fact which needs to be accounted for. See Trell v. Marlee Elecs. Corp., 912 F.2d 1443,

 1446–47 (Fed. Cir. 1990). Dr. Mangum also fails to account for differences in the settlements’

 royalty structures. The MetroCast settlement includes



                                 Ex. 21 at 570:15–24; Ex. 23 (Mulhern Reb. Rpt.) ¶ 260. Likewise,




            . Ex. 21 at 520:10–14; Ex. 23 (Mulhern Reb. Rpt.) ¶¶ 247, 272.




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                2.     Dr. Mangum’s Analyses Are Based on Unreliable Methodology.

                       a.      Dr. Mangum’s Lost Profit Opinions Rely On Dr. Wicker’s
                               Unsupported Opinion That The Asserted Patents Are Blocking.

        The bedrock of Dr. Mangum’s lost profits opinion is that in the but-for world, Sprint would

 be the only provider of wholesale VoIP services. Ex. 22 (Mangum Charter Rpt.) ¶¶ 88–89; Ex. 15

 at 1276:2–23. Dr. Mangum relies on Dr. Wicker’s opinion that the Asserted Patents are “blocking

 patents” to support this assumption. Ex. 22 (Mangum Charter Rpt.) ¶¶ 69, 88–89; Ex. 21 at 609:17-

 610:9. As explained in Section X below, Dr. Wicker’s “blocking patent” opinion should be

 excluded under Daubert. Since Dr. Mangum’s lost profits opinions flow from Dr. Wicker’s

 unreliable “blocking patent” opinion, Dr. Mangum’s opinions are unreliable as well.

                       b.      Dr. Mangum’s Analysis of Under Panduit Factor 3 Is Unsupported.

        Under his lost profits theory, Dr. Mangum assumes that all retail VoIP suppliers would be

 forced to use Sprint as a wholesale VoIP provider. Ex. 21 at 124:9–15; see, e.g., Ex. 24 (Mangum

 Charter Reply Rpt.) ¶¶ 21–22. During the damages period, this would involve between



        Ex. 23 (Mulhern Reb. Rpt.) at Mulhern Exs. 8–10, 19; see Ex. 21 at 124:9–15. But Dr.

 Mangum does not do any calculation to show Sprint had the capacity to handle this massive

 increase in subscribers (Ex. 21 at 189:20–190:3) or to show the cost (including access to the

 necessary capital) or timing of this radical hypothetical expansion. Ex. 21 (Mangum 6/5/20 Dep.)

 at 302:7-303:3, 316:10-17; Ex. 23 (Mulhern Reb. Rpt.) ¶ 159. These omissions doom his opinion

 by rendering it mere ipse dixit. See Kumho Tire Co. v. Carmichael, 526 U.S. 137, 157 (1999); see

 also ePlus, 764 F. Supp. 2d at 813 (excluding Dr. Mangum’s ipse dixit testimony). Because Dr.

 Mangum lacks “sound economic and factual predicates” to support Sprint’s required capacity in

 the “but-for” world, his lost profits analysis must be excluded. Riles v. Shell Expl. & Prod. Co.,


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 298 F.3d 1302, 1311 (Fed. Cir. 2002).

                        c.      Dr. Mangum’s Analytical Approach Arbitrarily Assigns All Alleged
                                VoIP Cost Savings to Sprint as a Royalty.

        The Federal Circuit has consistently held that allocating a particular amount of a royalty

 value to one party, absent analysis as to why that allocation is applicable to the facts of the case,

 is an unreliable methodology that warrants exclusion under Daubert. In Uniloc USA, Inc. v.

 Microsoft Corp., the Federal Circuit held that the “25 percent rule of thumb,” which allocated 25%

 of the value of the infringing product to the patentee and 75% to the licensee, was a “fundamentally

 flawed premise” for calculating damages because it was “arbitrary” and “unrelated to the facts of

 [the] case.” 632 F.3d 1292, 1315, 1317–18 (Fed. Cir. 2011). In Virnetx, Inc. v. Cisco Sys., Inc., the

 Federal Circuit rejected a damages methodology that assumed a 50/50 allocation of incremental

 profit between the patentee and the licensee because it “asserts nothing about what situations in

 the real world fit those premises.” 767 F.3d 1308, 1332 (Fed. Cir. 2014).

        Dr. Mangum effectively applies a “100 percent rule” by arbitrarily allocating to Sprint the

 entire cost savings he attributes to offering VoIP instead of circuit-switched telephony. Under his

 “analytical approach,” Dr. Mangum calculates the cost savings as                     and assumes—

 without analysis or explanation—that Defendants would pay the entire cost savings to Sprint as a

 reasonable royalty. Ex. 21 at 102:2–15, 229:24–230:21, 449:2–7; see, e.g., Ex. 22 (Mangum

 Charter Rpt.) ¶¶ 199–200. Other courts have held that this is arbitrary and unreliable. In Looksmart

 Grp., Inc. v. Microsoft Corp., Looksmart’s expert calculated a reasonable royalty as the cost

 savings from using the patented technology and “allocate[d] all of Microsoft’s avoided costs to

 Looksmart.” No. 17-CV-04709-JST, 2019 WL 4009263, at *3 (N.D. Cal. Aug. 5, 2019). This

 assumption was held to be unsupportable “[a]s a matter of both rudimentary economics and

 common sense” because the non-infringing alternative and the license would be of equal value to


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 Microsoft, so there would be no economically rational reason for Microsoft to participate in the

 hypothetical negotiation. Id. The same is true here. Under Dr. Mangum’s analytical approach,

 implementing the non-infringing circuit-switched solution (an alleged incremental cost of

       ) would cost the same as a license from Sprint (at a             royalty rate). Dr. Mangum

 does not (and cannot) explain why, in such a situation, Defendants would accept a license at that

 rate. Dr. Mangum’s analytical approach should be excluded under Daubert.

                        d.     Dr. Mangum’s Royalty Rate for the Enhanced Services Is
                               Unconnected to the Alleged Value of those Patents.

        Dr. Mangum arrives at the                 rate for the Enhanced Services Patents by taking

 the ratio of a non-party TWC’s phone pricing versus its voicemail pricing and then applying that

 resulting percentage        to the      effective PSPM rate he calculates as the royalty for the

 Christie Patents, which is derived from the Vonage verdict (a verdict that did not include the

 Enhanced Services Patents). Ex. 22 (Mangum Charter Rpt.) ¶¶ 174–79, 239; Ex. 25. But Dr.

 Mangum does nothing to tie the price of TWC’s voicemail service to the value of the Enhanced

 Services Patents, rendering his methodology unreliable. Indeed, the district court in the TWC

 litigation excluded a strikingly similar theory advanced by Sprint’s damages expert, who sought

 to assign a royalty rate to the same patents by comparing Sprint’s revenues for wholesale VoIP

 with its revenue for voicemail services. See Sprint Commc’ns Co. L.P. v. Comcast Cable

 Commc’ns LLC, 225 F. Supp. 3d 1233, 1252 (D. Kan. 2016) (“The fact that two different sets of

 patents both represent ‘core’ technologies used in products or services does not necessarily or

 reasonably mean that the patented technologies make up the same percentage of the overall

 products or services.”). Because Dr. Mangum’s royalty methodology for the Enhanced Services

 Patents is unconnected to the alleged value of those patents, his opinions must be excluded.




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                         e.      Dr. Mangum Fails to Apportion to Reflect the Alleged Contribution
                                 of the Asserted Patents.

         Apportionment “is necessary in both reasonable royalty and lost profits analysis.” Mentor

 Graphics Corp. v. EVE-USA, Inc., 851 F.3d 1275, 1287 (Fed. Cir. 2017). For all three of his

 damages approaches, however, Dr. Mangum performs no apportionment analysis. Instead, he

 effectively equates the value of the patented technology to the entire value of VoIP telephony

 without any evidence to support this assumption. “‘[T]he patentee … must in every case give

 evidence tending to separate or apportion the defendant’s profits and the patentee’s damages

 between the patented feature and the unpatented features … or show that ‘the entire value of the

 whole machine, as a marketable article, is properly and legally attributable to the patented

 feature.’” Uniloc, 632 F.3d at 1318 (internal citation omitted). Dr. Mangum’s failure to either

 apportion the value of the patented technology or explain why the entire market value rule

 (“EMVR”) exception applies renders his methodology unreliable, warranting exclusion.

                                 i.      Lost Profits

         Apportionment is necessary for a lost profits analysis “[i]f the application of the Panduit

 factors does not result in the separation of profits attributable to the patented device and the profits

 attributable to providing other aspects.” WesternGeco L.L.C. v. ION Geophysical Corp., 913 F.3d

 1067, 1073 (Fed. Cir. 2019); see also Mentor Graphics, 851 F.3d at 1288 (holding that

 “satisfaction of the Panduit factors satisifie[d] principles of apportionment” where it was clear the

 plaintiff’s damages were “tied to the worth of its patented features”). Dr. Mangum calculates

 Sprint’s lost profits to be all profits that Sprint allegedly would have earned as Defendants’

 wholesale VoIP provider. Id,, ¶¶ 88–92. However, as Dr. Mangum acknowledges, Sprint’s

 patented technology is limited to certain methods of interconnecting a VoIP network and the

 PSTN. Ex. 22 (Mangum Charter Rpt.) ¶ 33. Sprint provided services beyond just interconnections


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 to the PSTN as part of its wholesale VoIP service, such as



                                                                                                     .

 See Ex. 30 (Pedigo Rpt.) ¶¶ 29–33; see also Ex. 21 at 644:22–645:25. Since wholesale VoIP

 encompasses a “basket of services” beyond the patented technology, Dr. Mangum needed to

 apportion the value of that technology out from the total profits Sprint would have earned. See

 Sunoco Partners Mktg. & Terminals L.P. v. Powder Springs Logistics, LLC, C.A. No. 17-1390-

 LPS-CJB, D.I. 445, at 13-14 (D. Del. Jan. 13, 2020) (excluding lost profits opinions where expert

 “never engage[d] in an apportionment analysis in which he assesses the value of the patents in

 relation to the other many aspects of the butane supply agreements on which his damages

 calculation rates are based” (emphasis in original)).

        Additionally, because all of Sprint’s currently asserted claims are method claims, damages

 should be correlated to infringing calls, i.e., calls that traverse the PSTN. Lucent Techs., Inc. v.

 Gateway, Inc., 580 F.3d 1301, 1334 (Fed. Cir. 2009). The record shows that, for Charter, at least

                                        , and therefore do not use Sprint’s patented method. See Ex.

 31 (Gerstner 1/22/20 Dep.) at 175:3-13; Ex. 23 (Mulhern Reb. Rpt.) ¶ 200.23 Dr. Mangum did not

 attempt to apportion out these non-infringing calls in his lost profits model. Ex. 22 (Mangum

 Charter Rpt.) at Mangum Ex. 4. Further, Sprint did not invent all of the technology that is necessary

 for provisioning wholesale VoIP services, as the Asserted Patents’ inventors admitted.24 Sprint


 23
     See also Ex. 32 (Bakewell Mediacom Rpt.) ¶¶ 161–63 (explaining that data from
 Net2Phone/IDT shows
                                           ); Ex. 33 (Bakewell ABB Rpt.) ¶¶ 163–65 (same); Ex. 34
 (Bakewell Grande Rpt.) ¶¶ 160–62 (same); Ex. 35 (Bakewell WOW Rpt.) ¶¶ 162–64 (same).
 24
    See, e.g., Ex. 10 (Gardner 1/7/20 Dep.) at 103:5–12 (admitting Sprint did not invent the IP media
 gateway), 103:1–18 (admitting Sprint did not invent the IP soft switch); Ex. 12 (DuRee 1/17/20
 Dep.) at 225:13–15 (admitting Sprint did not invent voice-over-IP technology), 225:9–12
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 cannot receive damages attributable to technology it did not invent, and Dr. Mangum failed to

 apportion to reflect that.

         Dr. Mangum apparently believes that no apportionment is required because PSTN

 connectivity is (allegedly) necessary for providing VoIP services. Ex. 24 (Mangum Charter Reply

 Rpt.) ¶ 91. But “[i]t is not enough to merely show that the [patented] method is viewed as valuable,

 important, or even essential” to the overall product or service of which it is a part. LaserDynamics,

 694 F.3d at 68. Rather, the EMVR is a “narrow exception” to the rule of apportionment that only

 applies where “the presence of [the patented] functionality is what motivates consumers to buy

 [the overall product or service] in the first place.” Id. at 67–68. Here, as noted above, wholesale

 VoIP companies (including Sprint) provide many different technologies and services, and Dr.

 Mangum has provided no explanation or analysis to show that Sprint’s patented technology

 motivated customers to purchase wholesale VoIP service. Therefore, Dr. Mangum was required to

 apportion his lost profits calculations to reflect only the value of the patented technology.

                                ii.     Analytical Approach

         In his “analytical approach,” Dr. Mangum also did nothing to apportion out cost savings

 attributable to technology that Sprint did not invent, and provided no explanation as to why all of

 the cost savings associated with VoIP are solely attributable to Sprint’s Asserted Patents. And

 while “[a] price for a hypothetical license may appropriately be based on consideration of the

 ‘costs and availability of non-infringing alternatives’ and the potential infringer’s ‘cost savings’”

 without further apportionment, a patentee must still “carefully tie proof of damages to the claimed

 invention’s footprint in the market place.” Prism Techs. LLC v. Sprint Spectrum L.P., 849 F.3d




 (admitting Sprint did not invent voice-over-packet technology), 226:10–12 (admitting Sprint did
 not invent call routing technology).

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 1360, 1376-77 (Fed. Cir. 2017). Unlike in Prism, where the uncontroverted evidence established

 that the cost savings defendant received from using the patented technology fully encompassed the

 value of the patented technology, Dr. Mangum cites no evidence to show the entire cost savings

 between offering VoIP and circuit-switched telephony can be attributed to the patented technology,

 which is limited to methods of interconnecting a VoIP network and the PSTN.

        In fact, the record shows (and Dr. Mangum admits) that VoIP features outside the scope of

 the Asserted Patents contribute to the cost savings of using VoIP over circuit-switched systems. A

 2003 Cox Communications whitepaper—cited by Dr. Mangum—explains that there is only an




      ; see Ex. 21 at 624:2–15. Sprint’s patents have nothing to do with the power source used in a

 VoIP system (Ex. 17, Almeroth Reb. Rpt., ¶¶ 864-65), such that Dr. Mangum was required to

 apportion cost savings attributable to power source differences out of his analytical approach

 royalty, as well as all other VoIP features that contribute to cost savings but are not covered by

 Sprint’s patents. Unlike in TC Tech. LLC v. Sprint Corp., where this Court held that the patentee’s

 cost savings analysis inherently excluded unpatented features that were common to both the

 infringing and non-infringing systems (and where the expert actually further apportioned cost

 savings to the patented technology), Dr. Mangum’s analysis fails to account for unpatented

 features unique to VoIP. No. 16-cv-153-RGA, 2019 WL 2515779, at *4-5 (D. Del. June 18, 2019).

 Dr. Mangum admitted there were a number of unpatented features contributing to the lower capital

 expenditures associated with offering VoIP, such as the network power source (Ex. 21 at 624:2–

 15, 627:3–12), less expensive hardware (id. at 626:4–9), internet protocol (id. at 626:10–13), and




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 packet delivery (id. at 626:14–17).25 Dr. Mangum’s lack of apportionment renders his analysis

 unreliable and it should be excluded.

                                iii.     Hypothetical Negotiation

          According to Dr. Mangum’s hypothetical negotiation analysis, Defendants would pay

 Sprint a royalty of               for all subscribers. Ex. 21 at 449:8–16; Ex. 22 (Mangum Charter

 Rpt.) ¶ 237, Mangum Ex. 11. In contrast to Sprint v. Time Warner Cable, where “Sprint’s damages

 expert addressed apportionment at some length during his testimony, explaining that his damages

 calculations were designed to determine ‘the incremental profits that are attributable to the patents

 in suit,’” (760 F. App’x at 984), Dr. Mangum has offered no opinions to explain why his

          damages figure either satisfies the EMVR or why the settlements and verdicts he relies on

 are otherwise incrementally attributable to the Asserted Patents. The VoiceGlo settlement and the

 Vonage verdict were based on a percentage of revenue          , which Mangum claims supports the

 PSPM number applied to all Defendants. See Ex. 24 (Mangum Charter Reply Rpt.) ¶ 146.

 Critically, however, there is no evidence of the overall PSPM royalty base that the VoiceGlo

 settlement rate would be applied against, such that it cannot be discerned whether the           rate

 used by Dr. Mangum even appropriately reflects one of the key inputs in his analysis.26 Ex. 21 at

 571:3–6; see Comcast, 225 F. Supp. 3d at 1251 (holding that “attributing any per-subscriber figure

 to the Voiceglo” settlement “would be impermissibly speculative”).

          Further, despite the use of a PSPM number, Dr. Mangum’s royalty rate is still derived from



 25
    The inventors of the Asserted Patents similarly testified that Sprint did not invent a number of
 features and technologies involved in offering VoIP services. See supra, n. 24.
 26
    Even if the use of a percentage of revenue were proper, the VoiceGlo’s settlement rate

      ,
                                                                         . Ex. 21 at 520:10–14.

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 a percentage of total VoIP revenue, which is a violation of the EMVR. As noted, Dr. Mangum has

 not established that Sprint’s patented technology is the reason consumers purchase Defendants’

 VoIP services. See LaserDynamics, 694 F.3d at 67; see also Lucent, 580 F.3d at 1336–39 (finding

 that a royalty based on percentage of revenue was not supported by substantial evidence where the

 EMVR did not apply). The TWC verdict and MetroCast settlement suffer from the same fatal

 flaw—

                                                                                           . Ex. 22

 (Mangum Charter Rpt.) ¶ 208; Ex. 24 (Mangum Charter Reply Rpt.) ¶ 146.

         Dr. Mangum’s analysis also improperly fails to apportion the royalty base, as “[t]he royalty

 base for reasonable royalty damages cannot include activities that do not constitute patent

 infringement.” AstraZeneca AB v. ApotEx. Corp., 782 F.3d 1324, 1343 (Fed. Cir. 2015). For

 Charter, the evidence shows that between                  of its subscribers do not use their VoIP

 service. Ex. 23 (Mulhern Rpt.) ¶¶ 198–99.27 Dr. Mangum, however, testified that it did not “matter

 to [his] damages analysis whether a subscriber actually received or placed phone calls in any given

 month” and that he did no “adjustments based on how telephone calls were actually completed.”

 Ex. 21 at 520:10–14, 559:20–25. Because the asserted claims are method claims, damages should

 be correlated to the alleged infringing use. See Lucent Techs., 580 F.3d at 1334. Subscribers who

 do not use their phone service do not perform the allegedly infringing method; consequently, these

 subscribers should have been apportioned out of the royalty base. Id. Further, as explained above,

 a large percentage of calls actually made on Defendants’ VoIP networks cannot be infringing

 because they do not traverse the PSTN. Ex. 23 (Mulhern Rpt.) ¶ 200; Ex. 31 (Gerstner 1/22/20


 27
   The other Defendants’ subscribers exhibit similar patterns of non-use of VoIP service. For
 example, Mediacom estimates that in the past five years,                       of customers have,
 but do not make significant use of, VoIP service. See Ex. 32 (Bakewell Rpt.) ¶ 92.

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 Dep.) at 175:3-13.28 Dr. Mangum should have apportioned these calls out of the royalty base. His

 failure to do so renders his hypothetical negotiation analysis unreliable.

 X.     DR. WICKER’S IMPROPER AND UNSUPPORTED OPINIONS FAIL DAUBERT

        Defendants move to exclude Dr. Wicker from providing expert opinion on whether Sprint’s

 patents are “blocking patents” because he “engage[d] in no actual analysis of the product’s features

 as compared to the claim limitations.” Mfg. Res., Int’l, Inc. v. Civiq Smartscapes, LLC, Civ. No.

 17-269-RGA, 2019 WL 4198194, at *7 (D. Del. Sept. 4, 2019) (excluding opinion on non-

 infringing alternatives under FRE 702). Dr. Wicker also exceeds the bounds of his technical

 expertise by offering legal and economic opinions about whether actions by Defendants constitute

 direction or control of a third party, and about whether non-infringing alternatives were

 economically feasible to pursue. Dr. Wicker, an electrical engineer, is not qualified to provide such

 opinions and the opinions are inadmissible ipse dixit.

        A.      Argument

                1.      Dr. Wicker’s “Blocking Patent” Opinion Has No Methodological Basis.

        Dr. Wicker opines that the Christie Patents are “blocking patents”—in other words, that it

 is not possible to provide a packet-PSTN telephony service without practicing the Christie Patents.

 Ex. 16 (Wicker Charter Reply Rpt.) at ¶ 432; Ex. 15 (Wicker 6/5/2020 Dep.) at 1263:23–1265:19,

 1269:5–19. Dr. Wicker, however, did not provide any analysis of known alternatives to prove that

 other packet-PSTN telephony services actually practice the Christie Patents. Id. As this Court

 previously held, a technical expert who opines that other products are not available as non-




 28
   See also Ex. 32 (Bakewell Mediacom Rpt.) ¶¶ 161–63, 230; Ex. 33 (Bakewell ABB Rpt.) ¶¶
 163–65, 232; Ex. 34 (Bakewell Grande Rpt.) ¶¶ 160–62, 229; Ex. 35 (Bakewell WOW Rpt.) ¶¶
 162–64, 231.

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 infringing alternatives is unreliable when that expert “engages in no actual analysis of the product’s

 features as compared to the claim limitations.” Mfg. Res., 2019 WL 4198194, at *7.

        Just as in Manufacturing Resources, Dr. Wicker’s opinion that the Christie Patents are

 “blocking patents” has no reliable methodological basis. Ex. 16 (Wicker Charter Reply Rpt.) at ¶

 432; Ex. 15 (Wicker 6/5/2020 Dep.) at 1263:23–1265:19. For example, Defendants identified

 available and acceptable non-infringing alternatives, including services provided by AT&T and

 Verizon. Ex. 17 (Almeroth Reb. Rpt.) at ¶¶ 794-812; Ex. 18 (Gilchrist Reb. Rpt.) at ¶ 962-64; Ex.

 30 (Pedigo Rpt.) at ¶¶22-28. But Dr. Wicker admitted that he failed to analyze and does not know

 how AT&T or Verizon systems operate. E.g., Ex. 15 (Wicker 6/5/2020 Dep.) at 1276:2-23,

 1265:20-1273:14. Dr. Wicker’s opinion that the Christie Patents are necessarily infringed cannot

 be reliable when by Dr. Wicker’s own admission he did not analyze the services Defendants

 specifically identified as non-infringing. Nor does Dr. Wicker perform any claim-based analysis

 to support his blanket “blocking patent” opinions; he merely states in conclusory fashion that the

 patents are blocking. Ex. 16 (Wicker Reply Rpt.) at ¶ 432. Because Dr. Wicker’s “blocking patent”

 opinions fail to analyze relevant non-infringing alternatives and are otherwise unsupported by any

 reliable methodology or analysis, they should be excluded. Mfg. Res., 2019 WL 4198194, at *7.

        2.      Dr. Wicker’s “Direction or Control” Opinions Should Be Excluded.

        Dr. Wicker’s opinions on whether actions by Defendants constitute direction or control of

 a third party are inadmissible legal opinions. Dr. Wicker opines that Atlantic Broadband (“ABB”)

 “directs and controls” a third party, Net2Phone, to provide interconnection between VoIP and the

 PSTN, relying on his interpretation of the contract between ABB and Net2Phone. Ex. 19, (Wicker

 ABB Infring. Rep.) at ¶¶ 2, 30 (“N2P was contractually bound to provide PSTN interconnectivity

 on behalf of ABB.”), 33 (similar). Dr. Wicker also cites deposition testimony of Net2Phone and

 ABB non-lawyer employees for interpretation of the contract. See, id., ¶¶ 30-33; Ex. 45, (Wicker

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 ABB Reply Rpt.), ¶¶ 207-209. Relatedly, Dr. Wicker opines that one of Defendants’ proposed

 non-infringing alternatives, an IP-to-IP interconnection, would infringe the Asserted Patents

 because the “bearer communication may be passed in IP form between the two carriers but still be

 converted to a narrowband form for termination to the PSTN under the direction and control of

 the originating party” or that Defendants “control and directs the method and manner of delivery

 to the PSTN” under an IP-peering agreement. Ex. 14, (Wicker Infring. Rpt.) at ¶ 207.

        First, as an engineer, Dr. Wicker lacks the credentials to opine on the legal issues of

 direction or control under Rule 702. Fed. R. Evid. 702. Dr. Wicker has a Bachelor’s, Master’s, and

 Ph.D. in Electrical Engineering. Ex. 20, (Wicker CV). He has neither a degree nor experience in

 law. Calhoun v. Yamaha Motor Corp., U.S.A., 350 F.3d 316, 322 (3d Cir. 2003) (“An expert may

 be generally qualified but may lack qualifications to testify outside his area of expertise.”). Dr.

 Wicker confirmed he has never been hired to provide a legal opinion or interpret contracts. Ex. 15,

 at 471:20-472:17; see also Ex. 15, (Wicker 6/5/20 Dep.) at 1350:2-7 (deferring to counsel as his

 basis for concluding there was direction and control).

        Second, even if he were qualified, Dr. Wicker offers inadmissible ipse dixit regarding

 Defendants’ direction or control of third parties in an IP interconnection or IP peering agreement—

 specifically, whether Defendants would control unnamed third parties after handing off a call in

 IP format. Ex. 14 (Wicker Infring. Rpt.) ¶ 207. Dr. Wicker admits that multiple parties could be

 involved in passing off calls before terminating on the PSTN. See Ex. 15 at 1278-1279:20. He does

 not cite to any evidence for his assertion that Defendants would direct or control those potentially

 innumerable, unknown third parties to hand off the call to the PSTN. Id. at 1279:21-1281:7.

 Dr. Wicker also provides no analysis for his assertion that Defendants handing off a call in IP

 format to another company would infringe. Instead, Dr. Wicker improperly cites his infringement



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 report from a previous, unrelated case. Ex. 14, ¶ 207 (citing Cable One infringement report). But

 those reports cannot demonstrate how Defendants here direct and control any third party.

        Finally, Even if Dr. Wicker were qualified to provide legal opinions and those opinions

 were reliable, Dr. Wicker’s conclusions regarding direction and control should nevertheless be

 excluded as not helpful within the meaning of Rule 702. Dr. Wicker inappropriately interprets the

 contract between Net2Phone and ABB to conclude that ABB directs and controls the actions of

 Net2Phone. See, e.g., Ex. 19, (Wicker ABB Infring. Rpt.) at ¶¶ 30-31. These opinions as to the

 scope and meaning the contract between Net2Phone and ABB and each party’s contractual

 obligations must be excluded because it is the Court’s job to explain the law to the jury, not Dr.

 Wicker’s. Dow Chemical Canada Inc. v. HRD Corp., 656 F.Supp.2d 427, 435-435 (D. Del. 2009)

 (striking portion of expert report related to “legal duties, standards, or ramifications arising from”

 a contract) (internal quotation omitted).

        3.      Dr. Wicker’s Economic Feasibility Opinions Should Be Excluded.

        First, as with Dr. Wicker’s legal opinions, Dr. Wicker lacks the qualifications to provide

 economic opinions. Nothing in Dr. Wicker’s CV indicates any economic expertise. Ex. 20. Dr.

 Wicker agreed that someone with an accounting or finance background would be better equipped

 to assess whether Defendants could have economically implemented certain alternatives. Ex. 15

 at 1292:12-1293:25, 1295:17-1296:13. Dr. Wicker also does not have the expertise to opine that

 Defendants did not have the “know how” to build a circuit-switched network. See Ex. 15, Wicker

 Dep., June 3, 2020 at 576:3-14 (explaining his work did not focus on “building out a functioning

 voice network”). Without the relevant expertise, Dr. Wicker’s opinions should be excluded.

        Second, these opinions are also inadmissible ipse dixit. Dr. Wicker opines that providing a

 “cellular network” rather than a VoIP phone product would not be “economically feasible” for

 Defendants and that a circuit-switched network would be “cost prohibitive.” See Ex. 14, Wicker

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 Report at ¶¶ 202, 212. Dr. Wicker also opines, without citation to a single document from

 Defendants, that Defendants did not have the “know how” to build a circuit-switched network. Id.

 at ¶ 212. Dr. Wicker cites no evidence from Defendants for these opinions, relying only on

 documents for third parties, and ignores that several cables companies provided cellular and

 circuit-switched telephony products to their customers. See id. at ¶ 213; Ex. 15, (Wicker 6/5/20

 Dep.) at 1308:25-1309:16; 1310:9-19. Because Dr. Wicker has not based these economic opinions

 on any facts or evidence, they too should be excluded as unreliable ipse dixit.

 XI.    CONCLUSION

        For the reasons explained above, Defendants ask the Court to grant their motions for

 summary judgment and to exclude expert testimony.



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   Dallas, Texas 75201-2980                 Georgia, Inc., Knology of South Carolina,
   (214) 953-6500                           Inc., Knology of Tennessee, Inc., Knology
                                            of Kansas, Inc., Anne Arundel Broadband,
                                            LLC, Atlantic Broadband (CT) LLC,
                                            Atlantic Broadband (Delmar) LLC,
                                            Atlantic Broadband (Miami) LLC,
                                            Atlantic Broadband (NH-ME) LLC,
                                            Atlantic Broadband LLC (Penn), Atlantic
                                            Broadband (SC) LLC, Atlantic Broadband
                                            Finance, LLC, Grande Communications
                                            Networks, LLC, RCN Telecom Services,
                                            LLC, Radiate Holdings, LP, and
                                            WaveDivision Holdings, LLC



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                                            Telecom Services, LLC, Radiate Holdings,
                                            LP, and WaveDivision Holdings, LLC


 DATED: June 12, 2020




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 12, 2020, true and correct copies of the foregoing document

 were caused to be served on the following counsel of record as indicated:

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                                                             /s/ Kelly E. Farnan
                                                             Kelly E. Farnan (#4395)




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